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                                            UNITED STA TES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.16-20893-CR -M ORENO
 UNITED STATES 0F AM ERICA ,
           Plaintiff,
 VS.

 M O NTY M Y G RO W ,
            Defendant.
                                       /


                        ORDER DENYING M OTION TO COM PEL

        THIS CAUSE came before the Courtupon defendant'smotion to compelID.E.#391.
 TheCourtpreviouslydeniedsection(ii)ofthemotionandthegovernmenthavingfiledaresponse
 tosaidmotion ID.E.#471,itis
        ORDERED andADJUDGED thatdefendant'smotiontocompel(i)documentsproduced
 to the govemmentby PatientCaze America ($çPCA'')pursuantto PCA'Slimited waiverofits
 attonwy-clientprivilegeisDENIED.

        However,the governmentshall file a complete exhibitlist identifying each exhibitby

num berthatitintendsto introduce atthetrial, now setforJanuary 22,2018 no laterthan January
                                                                      ,

4,2018. lfthedefendantdesirestointroduceany exhibits, hem ustalso filean exhibitlistnolater

than January 12,2018.
                                                                                              '

        DONE and ORDERED in M iami-Dade County Florida, this                                      @ dayot
                                                                                                        -september ,

2017.                                                                     M
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                                           FEDE    O A.               .       x'tj
                                           UNITED STATEj--DISTRICT JUDGE
Copiesfurnished to:

A11counselofrecord
